                                                            f ILE D
                      UNITED STATES DISTRICT COURT              · ·, tJ19
                      EASTERN DISTRICT OF TENNESSEE
                          GREENEVILLE DIVISION      Clerk, U. S. Oistrict Court
                                                         Eastern District of Tennessee
                                                                At Greeneville
 UNITED STA TES OF AMERICA               )
                                         )
       V.                                )              2:19-CR-    q~
                                         )              JUDGE      Giee.K.
 WILLIAM ROGER WOODIE                    )
    a.k.a. "VOODOO"                      )              TOBE SEALED
 HAILEY LEANN HALE                       )
    a.k.a. "BABY MAMA"                   )
 AMY LAURA LEONARD                       )
 MELISSA RENEE DAUGHERTY                 )
    a.k.a. "MISSY"                       )
 ANTHONY NATHAN SMITH                    )
    a.k.a. "ANTIONE"                     )
 TIFF ANY ROCHELLE CROSS                 )
    a.k.a. "TIFF"                        )
 JOHN HAROLD HYATT, JR.                  )
    a.k.a. "LITTLE JOHN"                 )
 LINSEY JO HYATT                         )
 RONALD JEREMY BLACK                     )
 JOSEPH WESLEY HARRISON                  )
 JAMES EDWARD MALONE                     )
    a.k.a. "JIMMY"                       )
 TRAVIS CHARLES GLOVER                   )
 CASSIDY JADE HORTON                     )
    a.k.a. "CASSIE"                      )
 DEVIN CLOYD ASHBY                       )
    a.k.a. "REDNECK"                     )
 EARL HAROLD MCCOY, JR.                  )
 JOSHUA MARTIN HALL                      )
    a.k.a. "JOSH"                        )
 WILLIAM MATTHEW HOWARD                  )
   a.k.a. "NOODLE"                       )
 CRAIG MATTHEW COLLINS                   )
   MATTHEW BRIAN PHILLIPS                )
   a.k.a. "MILF"                         )
 CHASIDY DANIELLE BRUNETTE               )
 SHAWN ERIC KENDRICK                     )
    a.k.a. "PEEDAB"                      )
 JOSHUA CAINE MITCHELL                   )
    a.k.a. "BIG DAWG"                    )
 KEVIN LEON DAVIS                        )
 JONATHAN MATTHEW RATLIFF                )



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   a.k.a. "MATT"                                     )
 CARL FRANKLIN BLANKENSHIP                           )
 RONALD DEAN CANTRELL, JR.                           )
   a.k.a. "RONNIE"                                   )
 JESSICA BROOKE LEONARD                              )
 BRANDON ISAIAH OTEY                                 )
 TERESA ANN SMITH                                    )
   a.k.a. "TAZ"                                      )
 LAUREN KATE SMITH                                   )
 JOSHUA CARREON                                      )



                                       MOTION TO SEAL

       COMES NOW, the United States of America, by and through the United States Attorney

for the Eastern District of Tennessee, and hereby moves to seal all documents in this case,

including the Motion to Seal, until such time as the defendants have made an initial appearance

before the court, at which time the file may be unsealed unless the court otherwise orders. The

sealing of this file should not prevent disclosure of the indictment to duly authorized law

enforcement officers or the United States Marshals for purposes of arrest or apprehension of the

named defendants.

       Respectfully submitted, this the 9th day of July, 2019.

                                              J. DOUGLAS OVERBEY
                                              United States Attorney



                                      BY:    s/ Thomas A. McCauley·     -:--,A,-&/
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